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4
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5    THONGCHONE VONGDENG

6
                             IN THE UNITED STATES DISTRICT COURT
7
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
8

9
     UNITED STATES OF AMERICA,               )   Case No.: 2:15-CR-176 TLN
10                                           )
                         Plaintiff,          )   STIPULATION REGARDING EXCLUDABLE TIME
11                                           )   PERIODS UNDER SPEEDY TRIAL ACT;
     vs.                                     )   FINDINGS AND ORDER
12                                           )
     THONGCHONE VONGDENG,                    )   Date: June 1, 2017
13                                           )   Time: 9:30 a.m.
                         Defendant.          )   Judge: Honorable Troy L. Nunley
14                                           )

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16         The United States of America through its undersigned counsel, Rosanne

17   Rust, Assistant United States Attorney, together with counsel for defendant

18   Thongchone Vongdeng, John R. Manning, Esq., hereby stipulate the following:

19         1.   By previous order, this matter was set for status conference on

20   April 27, 2017.

21         2.   By this stipulation the defendant now moves to continue the status

22   conference until June 1, 2017 at 9:30 a.m., for a change of plea hearing and

23   to exclude time between April 27, 2017 and June 1, 2017 under the Local Code

24   T-4 (to allow defense counsel further time to prepare).

25         3.   The parties agree and stipulate, and request the Court find the

26   following:

27         a. On October 22, 2015, (and on subsequent dates for defendants who

28              were arrested and arraigned afterward), the government produced
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1       approximately 47,000 pages of discovery, a disc containing audio

2       files, and a disc containing video files.   The government also made

3       other discovery available for review at its office.   On April 5,

4       2016, the government produced 388 pages of additional discovery.

5    b. Counsel for the defendant needs additional time to review the

6       voluminous discovery, conduct more investigation, and interview

7       potential witnesses.   Additionally, Mr. Vongdeng is a citizen of

8       Laos, which has a very “complicated” political relationship with the

9       U.S.   As such, counsel for Mr. Vongdeng is not comfortable advising

10      Mr. Vongdeng on the potential immigration related consequences of

11      pleading guilty (or being found guilty by a jury).    As such, I have

12      engaged the services of the U.C. Davis Immigration Law Clinic to

13      assist the defense in accurately determining the potential

14      immigration related consequences to Mr. Vongdeng should he plead

15      guilty or be found guilty by a jury.   This process has just begun

16      and counsel for Mr. Vongdeng needs additional time to gather the

17      information requested by the U.C. Davis Clinic and they (the

18      “Clinic”) will need further additional time to review the material

19      and prepare an analysis for the defense.

20   c. Counsel for the defendant believes the failure to grant a

21      continuance in this case would deny defense counsel reasonable time

22      necessary for effective preparation, taking into account the

23      exercise of due diligence.

24   d. The government does not object to the continuance.

25   e. Based on the above-stated findings, the ends of justice served by

26      granting the requested continuance outweigh the best interests of

27      the public and the defendants in a speedy trial within the original

28      date prescribed by the Speedy Trial Act.
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1          f. For the purpose of computing time under the Speedy Trial Act, 18

2               United States Code Section 3161(h)(7)(A) within which trial must

3               commence, the time period of April 27, 2017, to June 1, 2017,

4               inclusive, is deemed excludable pursuant to 18 United States Code

5               Section 3161(h)(7)(A) and (B)(iv), corresponding to Local Code T-4

6               because it results from a continuance granted by the Court at the

7               defendant's request on the basis of the Court’s finding that the

8               ends of justice served by taking such action outweigh the best

9               interest of the public and the defendants in a speedy trial.

10         4.   Nothing in this stipulation and order shall preclude a finding that

11   provision of the Speedy Trial Act dictate that additional time periods are

12   excludable from the period within which a trial must commence.

13   IT IS SO STIPULATED.

14   Dated:   April 25, 2017                       /s/ John R. Manning
                                                   JOHN R. MANNING
15                                                 Attorney for Defendant
                                                   Thongchone Vongdeng
16

17   Dated:   April 25, 2017                       Phillip A. Talbert
                                                   United States Attorney
18
                                                   by: /s/ Rosanne Rust
19                                                 ROSANNE RUST
                                                   Assistant United States Attorney
20

21

22                                         ORDER

23   IT IS SO FOUND AND ORDERED this 26th day of April, 2017.

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                                              Troy L. Nunley
28
                                              United States District Judge
